Case 1:07-cV-20732-ASG Document 1 Entered on FLSD Docket 03/21/2007 Page 1 of 17

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IN THE UNITED STATES DISTRICT CoURT " “ -
SoUTHERN DISTRICT oF FLoRIDA 2397"1\¥€ 21 m w 19

MIAMI DIVISION CL »‘1¥;~111~\1x w ,
CLER RK U S D 5 _ §
S.D D.OF F L ~ Hl|,a s-¢; `
JULIO CESAR ALVARADO, )
Petitioner, )
vs. ) Case:
)
Alberto R. Gonzalez, Attorney General of the United ) 0 7 n 2 0 7 3~ ¢)
States, Michael Chertoff, Secretary of the Department )
of Homeland Security (DHS), Emilio Gonzalez, Acting ) CIV_ GGL D
Director, United States Citizenship Immigration ) TRATE JUDGI
Services (USCIS), Andrea J. Quarantillo, ) MAGISTURNOFF
Acting District Director, USCIS, Miami, Florida, )
Robert S. Mueller, Director, F ederal Bureau of )
Investigation, Michael Cannon, Section Chief, FBI )
Name Check Program, )
Defendants, )
)

 

Petition for Hearing on Naturalization Application
Pursuant to 8 U.S.C. 81447(b) and for Other Relief Pursuant to 5 U.S.C.
§ 701 et sq., Administrative Procedures Act (“APA”), 28 U.S.C. 88 1331, 1361

COMES NOW JULIO CESAR ALVARADO, hereinafter the “Petitioner,” in the
above captioned case, by and through the undersigned counsel, and respectfully petitions this
Honorable Court for a hearing on the Petitioner’S naturalization application pursuant to 8 U.S.C.
§1447(b), Section 336(b) of the Irnmigration and Nationality Act (“INA”) and/or relief under
other statutory provisions set forth hereinafter . In Support of same suit, the Petitioner hereby
submits the following.

This is an action seeking expeditious adjudication of the Petitioner’s naturalization

application by this Honorable Court.

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Jurisdiction

This Honorable Court possesses jurisdiction pursuant to 8 U.S.C. §l447(b), 5 U.S.C.
§701 et sq., Administrative Procedures Act (“APA”), 28 U.S.C. §1331 as a “[f]ederal question”
is being presented, and § 1361 “in the nature of mandamus” for want of a remedy.

M

Venue is proper in the United States District Court, Southern District of Florida for the
petitioner is seeking adjudication of his naturalization application “in the United States District
Court for the District in which the applicant resides.” 8 U.S.C. §l447(b).

Moreover, the relevant acts of the parties, as well the underlying documentary evidence,
for the most part, is geographically located within the geographical jurisdiction of this Honorable
Court.

The Parties
Petitioner Julio Cesar Alvarado,

The Petitioner is a naturalization applicant whose naturalization application the United
States Citizenship and Immigration Services (“CIS”) l has failed to adjudicate in an expeditious
manner as intended by Congress.

Defendant Alberto R. Gonzalez, Attorney General of the United States

Attorney General Alberto R. Gonzalez, is charged with interpreting and enforcing the
laws governing immigration and naturalization
Defendant Michael Chertoff, Secretary of the Department of Homeland Security

Michael Chertoff, Secretary of the Department of Homeland Security, is charged with
administering and enforcing the laws governing immigration and naturalization

Defendant Emilio Gonzalez, Acting Director, U.S. Citizenship Immigration Services

Emilio Gonzalez is the Acting Director of the Bureau of Citizenship and Immigration Services
for the Department of Homeland Security. Director, Gonzalez is in charge of overseeing the
processing of naturalization applications as well as properly administering the laws relating to

naturalization

 

l ln March of 2003, Immigration and Naturalization Service, an agency of the United States Department of

Justice, ceased to exist and was replaced by the Department of Homeland Security, United States Citizenship
and Immigration Services (“USCIS”). The USClS assumed the responsibilities of processing naturalization
applications among other applications that may provide benefits to aliens.

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Defendant Andrea J. Quarantillo, District Director, U.S. Citizenship Immigration Services,
Miami, Florida

Andrea J. Quarantillo is the District Director of the Miami District Office of the
Department of Homeland Security. She is sued in his official capacity based upon his
responsibility to administer and enforce the laws relating to immigration and naturalization in the
Miami, Florida district.

Defendant Robert S. Mueller, Director, Federal Bureau of Investigation.

Robert S. Mueller is the director of the Federal bureau of Investigation. He is sued in his
official capacity based upon his responsibility to have name checks done in an expeditious
manner.

Defendant Michael Cannon, Section Chief, FBI Name Check Program.

Michael Cannon, is the Section Chief of the Name check program for the F ederal Bureau
of Investigation. He is sued in his official capacity based upon his responsibility to complete
name checks in an expeditious manner.

Exhaustion of Administrative Remedies

For the purposes of 8 U.S.C. §l447(b), the instant suit is properly filed since more than
“120 days after the [initial] examination” have elapsed. See 8 U.S.C. § l447(b) (2005). See
Alghamdi v. Rl`dge, 2006 U.S. Dist. LEXIS 68498 (N.D. Fla., September 25, 2005) (rejecting the
defendants' contention that “examination” includes both the interview and the criminal
background check) Shamsai v. Gonzalez, 2006 U.S. Dist. LEXIS 76613 (D. Ga. 2006)

Nevertheless, inquiries into the Petitioner’s naturalization application have been made
thereby allowing the USCIS sufficient time to issue a final determination upon the Petitioner’s
naturalization application

Underlving Facts and Procedural Historv of the Case
Petitioner Julio Alvarado

Julio Alvarado (Alien No. A29-59l-437) is a twenty-six (26) year old male native and
citizen of Cuba who obtained lawful permanent resident status on June 26, 1996. Exhibit A.

In the F all of 2005, Mr. Alvarado filed an INS Form N-400, Application for

Naturalization, for which he was subsequently scheduled for an examination

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In the beginning of October of 2005, Mr. Alvarado attended his naturalization
examination interview, and was informed that he had passed the English, U.S. History, and
government tests. CIS failed to make a determination on Mr. Alvarado’s application at that time,

On April 6, 2006 and September 18, 2006, Mr. Alvarado made an inquiries as to the
status of his Application for Naturalization and was informed that his naturalization application
was “[p]ending completion of security checks” Exhibit B.

Mr. Alvarado lacks any derogatory against his person that would adversely affect his
statutory eligibility for naturalization

Because Mr. Alvarado’s inquiries have failed to produce a decision upon his
naturalization application “[b]efore the end of the 120-day period,” Mr. Alvarado petitions this
Honorable Court to adjudicate his application for naturalization pursuant to 8 U.S.C. §1447(b).

Argument and Memorandum of Law in Support of Petition for Review

USCIS has failed to issue a decision upon the Petitioner’s naturalization application
“before the end of the 120-day period.” 8 U.S.C. §1447(b) (2005).

F or the purposes of 8 U.S.C. §1447(b), the instant suit is properly filed since more than
“120 days after the [initial] examination” have elapsed. See Alghamdi v. Rl`dge, 2006 U.S. Dist.
LEXIS 68498 (N.D. Fla., September 25, 2005) (rejecting the defendants' contention that
“examination” includes both the interview and the criminal background check) Shamsai v.
Gonzalez, 2006 U.S. Dist. LEXIS 76613 (D. Ga. 2006)

The Petitioner is therefore entitled to seek judicial review of hisaturalization application
in this Honorable Court.

8 U.S.C. §1447(b) titled “Request for hearing before district court” provides:

If there is a failure to make a determination under section 1446 of this title before
the end of the 120-day period after the date on which the examination is
conducted under such section, the applicant may apply to the United States
district court for the district in which the applicant resides for a hearing on the
matter. Such court has jurisdiction over the matter and may either determine the
matter or remand the matter, with appropriate instructions, to the Service to
determine the matter.

The “examination” referred to in section l447(b) is the “first examination.”
8 C.F.R. §336.1(a) (2005) provides:

(a) After completing all examination procedures contained in part 335 of this
chapter and determining to deny an application for naturalization the Service shall

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(a) After completing all examination procedures contained in part 335 of this

chapter and determining to deny an application for naturalization the Service shall

serve a written notice of denial upon an applicant for naturalization no later than

120 days after the date of the applicant’s first examination on the application

(emphasis added).

Regulation promulgated by the Attorney General mandates CIS employees to process the
Petitioner’s naturalization applications in an expeditious manner.

“Where the rights of individuals are affected, it is incumbent upon agencies to follow
their own procedures.” Morton v. Ruiz, 415 US 199, 235 (1974) See also Accara'i v. Saughnessy,
347 U.S. 260 (1954); Yellin v. U.S., 374 U.S. 109 (1963) (decisions of an agency made in
violation of its own procedures are reversible even in the absence of a due process violation since
agencies must obey their own rules). 2

The Petitioner possesses standing for the petitioner possesses a ‘personal stake and [an]
interest that imparts the concrete adverseness required by Article III”’. Petition of Cardines, 366
F.Supp. 700, 709 (Dist.Ct. Guam1973); citing Association of Data Processing Services v. Camp,
397 U.S. 150, 152 (1970);Bar10w v. Collins, 397 U.S.159, 164 (1970).

The Administrative Procedures Act also provides this Honorable Court with jurisdiction
to “compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. §706(1). See
8 U.S.C. §1421(c) (2005) (review of naturalization application before district court to be in
accordance with chapter 7 of title 5).

The enactment of 8 U.S.C. §1447(b) by Congress was to reduce the waiting time for
naturalization applicants See H.R. Rep. No. 101-187, at 8 (1989); 135 Cong. Rec. H4539-02,
H4542 (1989) (statement of Rep. Morrison). See United States v. Hovsepian, 359 F.3d 1144,
1163 (9th Cir. 2004) (en banc).

lt should also be noted that upon the filing of the instant petition for review, the CIS loses

jurisdiction over the Petitioner’s naturalization application id. Hovsepian at 1163.

 

2. In reversing Accardl` and Yelll`n, the Supreme Court relied on the rule of administrative law for lNS’s
violations of their regulations rather than the due process clause. Petitioner may be granted relief solely on the
basis of INS’s violating their own regulations. Gonzalez v. Reno, 212 F.3d 1338 (l lth Cir. 2000) (executive
agencies must comply with the procedural requirements imposed by statute); Cuesta v. U.S., 230 F.2d 704 (5th
Cir. 1956) (INS regulations are binding and have effect of law); Waldron v. INS, l7 F.3d 511, 517-18 (2Ild Cir.
1993:) cert. denied, 513 U.S. 1014 (1994); Mendez v. INS, 563 F.2d 956, 959 (9th Cir.l977); Montilla v. INS,
926 F.2d 162, 167-70 (Z“d Cir.l99l); and Chlomos v. U.S. D.O.J., 516 F.2d 310, 313-14 (3rd Cir.l977). Suh v.
INS, 592 F.2d 230, 231 (S‘h Cir. 1979), vacated on other grounds 646 F.2d 909 (Filth Circuit Court of Appeals
does not look with favor upon INS’s violating its own regulations).

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In Hovsepian, the applicant filed for judicial review under 8 U.S.C. § 1447(b) after the
legacy INS failed to decide his application within 120 days of the initial examination While the
case was pending at the district court, the legacy INS denied the naturalization application

The district court determined that the legacy INS no longer had jurisdiction over the case,
and the court thus disregarded the legacy INS decision and instead proceeded to approve the
naturalization application On appeal by the legacy INS, the Ninth Circuit found that the district
court was correct in asserting exclusive jurisdiction In reaching this conclusion, the Ninth
Circuit considered the plain language of § 1447(b), the larger statutory context, and Congress’

policy objectives

8 U.S.C. §1447(b) (2005) provides in relevant part:

[the district] court has jurisdiction over the matter and may either determine the
matter or remand the matter, with appropriate instructions, to the Service to
determine the matter.

The Ninth Circuit Court of Appeals rejected CIS’ argument that CIS retains concurrent
jurisdiction over an application for naturalization once a petition for review has been filed.

The Ninth Circuit held that, once suit was filed under 8 U.S.C. §1447(b), the district court
assumed exclusive jurisdiction over the naturalization application, and CIS lost the authority to
decide the case. id. Hovsepian.

The sponsors of the-legislation intended to give naturalization applicants the power to
choose which forum would adjudicate their applications As the representative who introduced
the proposed statute on the House floor noted, “in this legislation, it is the applicant, not the
government, who decides the place, setting, and timeframe in which the application will be
processed.” 135 Cong. Rec. H4539-02, H4542 (statement of Rep. Morrison) (emphasis added).
id. Hovsepian at l 164. Allowing the USCIS to continue to exercise jurisdiction over an
application even after the naturalization applicant has elected to have the district court decide the
application would frustrate the sponsors’ intent. id.

In light of the statutory language, congressional intent is to allow the district court to
adjudicate a naturalization application once a petition for review has been filed.

The Petitioner possesses all of the statutory prerequisites to be eligible for naturalization

under Pub. L. 101-649. See 8 U.S.C. §1427 (2005). However, due to the continued delay of the

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USCIS in adjudicating his application for naturalization the Petitioner is being prevented from
being admitted to citizenship (8 U.S.C. §1448(a) (2005) and therefore from enjoying the status of
naturalized citizen of the United States.

Recently, this Honorable Court, Southern District of Florida, properly focused on the
“nature and scope of the ‘examination’ required under 8 U.S.C. §1447(b)” with persuasive
authority in support of Petitioner’s action in Fernandez v. Gonzalez, S.D. Fla., Case No. 06-
22442-CIV-SEITZ (S.D. Fla.,December 4, 2006). See also, Torres v. Gonzalez, S.D. Fla., Case
No. 06-21168-CIV-GRAHAM (S.D. Fla., February 26, 2007).

Petitioner is experiencing substantial and “unreasonable delay[s]” in having the Federal
Bureau of Investigations process his background checks. 5 U.S.C. §706(1).

For the purposes of 5 U.S.C. §706(1), the Plaintiff lacks any statutorily, regulatory, or
administrative remedy of mandate therein and therefore the instant suit is properly filed.

Plaintiff is requesting that this Honorable Court compel CIS to process his application for
naturalization within the processing times set forth by CIS themselves, i.e., eighteen (18) months.

The U.S. courts have uniformly concluded that, “when an agency's recalcitrance, inertia,
laggard pace or inefficiency sorely disadvantages the class of beneficiaries Congress intended to
protect, judicial review . . . is in order.” In re Amer. Fea'er. OfGov. Employees, AFL-CIO, 790
F.2d 116, 117 (D.C. Cir. 1986); see Leea'om v. Kyne, 358 U.S. 184, 3 L. Ed. 2d 210, 79 S. Ct.
180 (1958); and Yue Yu v. Brown, 36 F. Supp. 2d 922, 929 (D.N.M. 1999).

“[T]he first stage of judicial inquiry is to consider whether the agency’s delay is so
egregious as to warrant mandamus.” Telecommunications Research & Action v. F.C.C., 242 U.S.
App. D.C. 222, 750 F.2d 70, 79 (D.C. Cir. 1984) (“TRAC”).

Under 5 U.S.C. § 706(1), courts may compel “agency action unlawfully withheld or
unreasonably delayed.” The TRAC court set forth factors that are to be taken into consideration

when such relief is sought in the context of mandamus:

(1) the time agencies take to make decisions must be governed by a “rule of
reason”;

(2) where Congress has provided a timetable or other indication of the speed
with which it expects the agency to proceed in the enabling statute, that
statutory scheme may supply content for the rule of reason;

(3) delays that might be reasonable in the sphere of economic regulation are
less tolerable when human health and welfare are at stake;

(4) the court should consider the effect of expediting delayed action on agency

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activities of a higher or competing priority;

(5) the court should also take into account the nature and extent of the interests
prejudiced by delay; and

(6) the court need not “find any impropriety lurking behind agency lassitude in
order to hold that agency action is ‘unreasonably delayed.”’

TRAC, 750 F.2d at 80 (citations omitted).

There is no question that the Plaintiff is prejudiced in that existent delays profoundly

affect his ability to enjoy the many benefits derivative of becoming a citizen of the United States.

Based on the foregoing analysis, Congress has given repeated “indication” that naturalization

application processing is to be effectuated in an expedited manner.

Pub.L. 101-649 transferred naturalization authority over to the United States Department
of Justice, Immigration and Naturalization Service, predecessor of the Department of Homeland
Security, Citizenship and Immigration Service.

Congress passed Pub.L. 101-649 in order to reduce prevalent delays in the processing of
judicial naturalization petitions due to the increase of naturalization applicants petitioning for
naturalization in the overburdened judicial system. See Gorbach v. Reno, 219 F.3d 1087, 1088 -
89 (9"‘ Cir. 2000) (en banc).

The “legislation [was] directed to change [the two-step judicial naturalization] process
and to create a one-step option which will allow citizenship to be more expeditiously provided to
those who qualify.” See H.R. Rep. No. 101-187, at 8 (1989); 135 Cong. Rec. H4542 - 43 (1989)
(statement of Representative Morrison, Congress “Welcome[d] these” changes to “allow people
to gain their citizenship as promptly as possible.” Ia'. 4542. Attached as Exhibit F.

Congress submitted in their statement that “[i]n some cases applicants must wait as long
as 20 months for the final swearing-in ceremony.” id. 4543. Implicitly, Congress recognized in
its statement that 20 months is an unreasonable time for CIS to process an application for
naturalization

Indeed, WPB CIS Naturalization Office projects that a naturalization applicant to wait
eighteen (18) months to process a naturalization application Exhibit E.

The Plaintiff has now waited more than three and-a-half years and is still awaiting

examination under 8 C.F.R. § 335.2(a).

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Furthermore, the Plaintiff possesses all of the statutory prerequisites to be eligible for
naturalization under 8 U.S.C. §1427 (2005).

lt should be noted that subsequent to the passage of Pub.L. 105-119, Senator Abrams
stated in the Congressional Record at S3754, April 29, 1998, the following, over INS’
implementation of the new FBI fingerprint background checks:

“Press reports suggest that INS officials have been attributing this slowdown to

new procedures put in place in response to Congressional pressure. But when the

subcommittee ranking member and l asked whether the new fingerprinting process

might cause delays, the INS official in charge of developing them assured us that

they would not.

Finally, this Honorable Court possess mandamus pursuant to 28 U.S.C. §1361 “in the

nature of mandamus” to create a proper and lawful remedy to avert the continued delays present

in Plaintiff’s case.

SUMMARY

FBIA and CIS employees’ failure to process the Petitioner’s naturalization application in
an expeditious manner runs contrary to congressional intent as contained in 8 U.S.C. §1447(b)
and regulation promulgated by the Attorney General and therefore operates to procedurally bar
the Petitioner from being naturalized in an expedient manner especially when the Petitioner is
statutorily eligible to do so.

Due to the continued delay of the CIS employees’ to process the Petitioner’s
naturalization application in an expeditious manner consistent with statute and promulgated
regulation, the Petitioner possesses standing and is entitled to have this Honorable Court decide
the Petitioner’s naturalization application de novo including any other remedy that this

Honorable Court may deem as just and proper.

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CONCLUSION

WHEREFORE, for the foregoing reasons, the Petitioner respectfully requests that this
Honorable Court Will:

GRANT the instant Petition for Hearing on the Petitioner’s Naturalization Application;
ORDER the Federal Bureau of Investigations to process Petitioner’s background
fingerprints in an expeditious manner; find on the record that the Petitioner is statutorily eligible

to naturalize and therefore ORDER the Miami, Florida CIS Naturalization Office to favorably

adjudicate the Petitioner’s naturalization application as expeditiously as possible.

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Date

 

Florida Bar #0858609

The Law Office of Eduardo Soto, P.A.
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Coral Gables, Florida 33134

Tel.: (305) 446-8686

Fax.: (305) 529-0445

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“EXHIBIT A”

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“EXHIBIT B”

Case 1:O7-cV-20732-ASG Document 1 Entered on FLSD Docl<et 03/21/2007 Page 15 of 17

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§ Department of Homeland Security
,§:°M”§Z& U_S_ Citizenship U.S. Citizenship and lmmigration Services
" Miami Citizenship Office
77 SE 5 Street, 2nd F|oor

Miami, FL 33131

m

' §§ and Immigration
" Services

 

JUL|O ALVARADO
1408 W 44 TERR
HlALEAH FL 33012

Natura|ization |nquiry Response

|nquiry No.: 117727 Researched by: G_ Wi||iams

Applicant= JUL|O ALVARADO
A|ien Registration Number: A02-959-1437

Application: N-4OO
Source of|nquiry: NlAll_
Requestor: JUl..lO Al_\/ARADO
Date |nquiry Received: April 6, 2006
Date of Response: June 19, 2006
Application Sfafus= Pending a Final Decision

The application is pending completion of security checks. We regret the delay and ask for your
patience until a final decision can be issued for this case.

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ASS|STANT MAJOR|TY WHiP

Department of Homeland Security
United States Citizenship and Immigration Services
Texas Service Center
Response

Date of Inquiry/ Received Date: September 18, 2006
Aide: Gissette Espinosa

Constituent: Julio Alvarado
A#: 029-591-437

RESPONSE INFORMATION

Comments: “Mr. Alvarado is currently pending Security Background Clearance. Once
the clearance has been received, the application will move forwar. ”

PR|NTED ON RECVCLED PAPER

Case 1:07-cV-20732-ASG Document 1 Entered on FLSD Doo@

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ms 44 (Rev. ii/04)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither retplace nor supplement the filing and service of pleadings or other
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the civil docket sheet (SEE iNsTRUCTioNs oN THE REvERsE OF THE FoRivi,)

i. (a) PLAINTiFFs
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MAGISTRATE JUDGI
DEFENDANTS ZI'URNOFF

U.S. Attorney Gonzalez, USCIS Director Michael Chertoff, et al

County of Residence of First Listed Defendant Dade
(lN U.S. PLAINTlFF CASES ONLY)

(b) County of Residence ofFirst Listed Plaintiff Dade
(EXCEPT lN U.S. PLAINTIFF CASES)

 

 

 

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II. BASIS OF JURISDICTION (Place an “x" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PA RTl Efilp’c`e an “ ==+rrOne`Box for Plaintiff
(For Diversity Cases Only) ‘_‘;za - and One mfor Dbfendant)
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§ 2 U.S. Govemment 134 Diversity Citizen of Axiother State ij 2 ij 2 Incorporated and Principal Place ij 5 ij 5
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13 152 Recovery of Defaulted Liability Liability Cl 660 Occupational |J 840 Trademark ij 480 Consumer Credit
Student Loa.ns U 340 Marine PERSONAL PROPERTY Safety/Healtli |:l 490 Cable/Sat TV
(Excl. Veterans) |:l 345 Man`ne Product ij 370 Other Fraud |J 690 Other D 810 Selective Service
Cl 153 Recovery ovaerpayment Liability CI 371 Truth in Lending LAM SOCIAL §ECURlTY CI 850 Securities/Commoditie:s/
of Veteran’s Beriefits CI 350 Motor Vehicle ij 380 Other Personal ij 710 Fair Labor Sta.ndards ij 861 HlA (139511) Exchange
13 160 Stockholders’ Suits C| 355 Motor Vehicle Property Damage Act l:l 862 Black Lung (923) l:l 875 Customer Challenge
D 190 Other Contract Product Liability D 385 Property Damage [l 720 Labor/Mgmt. Relations ij 863 D1WC/DlWW(405(g)) 12 USC 3410
ij 195 Contract Product Liability Cl 360 Other Personal Product Liability g 730 Labor/Mgmt.Reporting ij 864 SSID Title XVl f 890 Other Statutory Actions
ij 196 franchise lnjury & Disclosure Act ij 865 RSl (405(g)) lj 891 Agricultural Acts
I_ REAL PROPERTY CIVlL RIGHTS PRISONER PETIT|ONS |:l 740 Rai|way Labor Act FEDERAL TAX SUITS ij 892 Economic Stabilization Act
ij 210 Land Condemnation El 441 Voting g 510 Motions to Vacate D 790 Other Labor Litigation CI 870 Taxes (U.S. Plaintiff ij 893 Environmental Matters
D 220 Foreclosure Cl 442 Employmen\ Sentence Cl 791 Empl. Ret. Inc. or Defendant) Cl 894 Energy Al|ocation Act
CI 230 Rent Lease & Ejectment C] 443 Housing/ Habeas Corpus: Security Act ij 871 lRSiTliird Party ij 895 Freedom of lnformatiori
lj 240 Torts to Land Accommodarions |J 530 General 26 USC 7609 Act
ij 245 Ton Product Liability L'] 444 Welfare [] 535 Death Penalry ij 900Appeal of Fee Determination
CI 290 All Other Real Property [] 445 Amer. w/Disabilities - ij 540 Mandamus & Other Under Equal Access
Employment ij 550 Civil Rights to Justice
Cl 446 Amer. w/Disabilin`es - ij 555 Prison Condition Cl 950 Constitutionality of
Other State Statutes
ij 440 Other Civil Rights
V. ORIGIN (Piace an “x" in one Box oniy) A;(>peal to District
a l _ § g 2 g 3 g 4 _ g Transferred from g 6 _ 4 _ g 7 Ju ge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State (`ourt Appellate Court Reooened (specifv) Litigation Judgment

 

VI. CAUSE OF ACTlON

 

LENGTH OF TRIAL \ia days estimated (for both sides lo try entire case)

(Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity);

8 U.S.C. §1447(b), 5 U.S.C. §701 et sq,, and 28 U.S.C. §§ 1331,1361.

 

Vll. REQUESTED IN

g CHECK IF THIS IS A CLASS ACTlON

DEMAND $

CHECK YES only if demanded in complaint

 

 

COMPLAINT: UNDER F»R~C-P- 23 JURY DEMAan Cl Yes \:l No
VIll. RELATED CASE(S) S _ 4 b
IF ANY ( ce ’"S"“°"°“S)' DOCKET NUMBER

 

 

 

DATE

FOR OFFICELU§E ONLY

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APPLYING lFP

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